Case 3:17-cv-00072-NKM-JCH Document 354-23 Filed 10/02/18 Page 1 of 5 Pageid#:
                                   3322




                  EXHIBIT 22
Case 3:17-cv-00072-NKM-JCH Document 354-23 Filed 10/02/18 Page 2 of 5 Pageid#:
                                   3323
Case 3:17-cv-00072-NKM-JCH Document 354-23 Filed 10/02/18 Page 3 of 5 Pageid#:
                                   3324
Case 3:17-cv-00072-NKM-JCH Document 354-23 Filed 10/02/18 Page 4 of 5 Pageid#:
                                   3325
Case 3:17-cv-00072-NKM-JCH Document 354-23 Filed 10/02/18 Page 5 of 5 Pageid#:
                                   3326
